                                                  22-887M(NJ)




5/16/22




          Case 2:22-mj-00887-NJ Filed 05/16/22 Page 1 of 3 Document 1
            AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST
                                WARRANT

       I, Todd Marratt, being first duly sworn on oath depose and say that upon personal knowledge

and upon information and belief:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Deputy United States Marshal with the United States

Marshal Service (USMS) for approximately 10 years. As part of my duties, I conduct investigations

to locate federal and state fugitives. I have had both formal training and have participated in

numerous investigations to locate state and federal fugitives. I am an investigator, or law

enforcement officer of the United States, within the meaning of 18 U.S.C. § 2510(7), in that I am

empowered by law to conduct investigations of and to make arrests for federal felony offenses.

       2.      This affidavit is based on my personal knowledge, or reported to me by

federal, state, and local law enforcement officers during the course of their official duties, all of

whom I believe to be truthful and reliable.

                                      PROBABLE CAUSE

       3.      This affidavit is submitted in support of an application for the issuance of a criminal

complaint charging ARTEMUS TAYLOR (DOB: 03/30/1992) with escape from federal custody in

violation of 18 U.S.C. § 751(a).

       4.      On November 14, 2013, Artemus TAYLOR pled guilty to unlawfully obstructing,

delaying, and affecting commerce by robbery and unlawfully and knowingly using, carrying, and

brandishing a firearm during and in relation toa crime of violence, in violation of Title 18, U.S.C.

Sections 1951 (a) and 924(c)(1)(A)(ii), in Eastern District of Wisconsin Case Number 13-CR-164.

       5.      On March 3, 2014, Artemus TAYLOR was sentenced and committed to the custody


                                                 1


            Case 2:22-mj-00887-NJ Filed 05/16/22 Page 2 of 3 Document 1
of the United States Bureau of Prisons (BOP) to be imprisoned for a total term of 96 months to be

followed by 3 years of Supervised Release.

       6.        On December 29, 2021, after serving time at the BOP, TAYLOR was transferred and

permitted to serve the remainder of his prison sentence at the Parsons Halfway House Residential

Reentry Center (RRC) located in Milwaukee, Wisconsin. TAYLOR was scheduled to be released

from Parsons to the community on September 22, 2022.

       7.        On May 6, 2022, at approximately 5:58 p.m., there was an alert received for a GPS

device tamper on TAYLOR’s assigned GPS device.

       8.        On May 6, 2022, at approximately 9:37 p.m., the United States Marshals Service

(USMS) E/WI- Milwaukee received a notification of TAYLOR’s escape from the Residential

Reentry Office.

       9.        On May 11, 2022, this affiant contacted Parsons Halfway House, in Milwaukee, to

assure that TAYLOR was still on escape status and had not returned to the Halfway House. It was

confirmed that TAYLOR was still considered a Federal Bureau of Prisons escapee.

       10.       This affidavit is intended to show merely that there is sufficient probable cause for the

requested criminal complaint and arrest warrant, does not set forth all the details of this

investigation.

                                            CONCLUSION

       11.       Based on the foregoing facts and my training and experience, I respectfully submit

that probable cause exists to issue a criminal complaint and arrest warrant for Artemus TAYLOR

(DOB: 03/30/1992) for a violation of 18 U.S.C. § 751(a), escape from custody.




                                                    2


             Case 2:22-mj-00887-NJ Filed 05/16/22 Page 3 of 3 Document 1
